            Case 2:20-cv-01071-TSZ-MLP Document 18 Filed 10/21/20 Page 1 of 2




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                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 8   NICHOLAS STERLING LITTLE,

 9                               Petitioner,                  Case No. C20-1071-TSZ-MLP

10           v.
                                                              ORDER
11   RONALD HAYNES,

12                               Respondent.

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14           This is a federal habeas action filed under 28 U.S.C. § 2254. On October 19, 2020,

15   Petitioner filed a “Motion to Proceed Ex Parte” (“Petitioner’s Motion”) seeking the Court to

16   allow him to proceed “ex parte” and default Respondent in this matter because Respondent

17   allegedly did not timely file an answer to Petitioner’s habeas petition. 1 (Dkt. # 15 at 1-2.)

18   However, on October 14, 2020, this Court granted Respondent’s Motion for an Extension of

19   Time to File Answer (dkt. # 12) allowing Respondent until November 13, 2020, to file an

20   answer. (Dkt. # 14.) Therefore, Respondent’s time to file an answer has yet to expire.

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       According to a docket note entered on October 21, 2020, this Court’s Order granting an extension of time
     to file an answer was not delivered to Petitioner until October 21, 2020, due to technical issues at the
     Stafford Creek Corrections Center.


     ORDER - 1
              Case 2:20-cv-01071-TSZ-MLP Document 18 Filed 10/21/20 Page 2 of 2




 1            Accordingly, the Court DENIES Petitioner’s “Motion to Proceed Ex Parte” (dkt. # 15).

 2   The Clerk is directed to send copies of this Order to the parties and to the Honorable Thomas S.

 3   Zilly.

 4            Dated this 21st day of October, 2020.


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 6                                                       MICHELLE L. PETERSON
                                                         United States Magistrate Judge
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     ORDER - 2
